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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.
                                                             Case No. 21-cr-117-1 (RCL)
RYAN TAYLOR NICHOLS,

                      Defendant.

                    SECOND SUPPLEMENTAL MOTION TO CONTINUE

       Joseph D. McBride, an attorney of record and lead attorney on this case, respectfully

supplements Defendant Ryan Taylor Nichols’ Motion to Continue (ECF No. 212) with the

following information: The above-captioned case is scheduled to go to trial on March 27, 2023.

A member of my immediate family must get surgery on March 22, 2023. This surgery requires

anesthetization. Recovery is anticipated to last between a few days and one week should all go

well. This person depends on me in every conceivable way, and I must be by their side from

surgery until recovery is complete. Therefore, I respectfully ask this court to grant a continuance

considering this information and the reasons in our previous filings.

Dated: New York, NY
       March 17, 2023
                                                     Respectfully submitted,
                                                     /s/ Joseph D. McBride, Esq.
                                                     Bar ID: NY0403
                                                     THE MCBRIDE LAW FIRM, PLLC
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                                                     New York, NY 10016
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                                   CERTIFICATE OF SERVICE
I certify that on this 17th day of March 2023, a copy of the foregoing was served upon all parties
                  as forwarded through the Electronic Case Filing (ECF) System.

                                   /s/ Joseph D. McBride, Esq.
                                      Joseph D. McBride, Esq.
